                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION
 IN RE:
 JAMES WILSON MCMEANS, JR.                    )      CASE NO. 18-82525-CRJ-12
                                              )
 SSN XXX-XX-4589                              )
                                              )      CHAPTER 12
                        DEBTOR                )


               TRUSTEE’S AMENDED OBJECTION TO DEBTOR’S
                         CLAIM OF EXEMPTIONS

        COMES NOW, Michele T. Hatcher, Chapter 12 Trustee, and objects to the Debtor’s Claim
 of Exemptions and as grounds therefore states the following:

 (X)    1. Debtor’s Claim of Exemptions for personal property exceeds the amount of $7,750 per
        debtor allowed by §6-10-6, Code of Ala., 1975.

 ()     2. Debtor’s Claim of Homestead Exemption exceeds the amount of $15,500 per debtor
        allowed by §6-10-2, Code of Ala., 1975.

 ()     3. Debtor claimed as exempt real estate which is not the Debtor’s homestead under the laws
        of the State of Alabama.

 ()     4. Debtors have claimed a homestead exemption on real estate that is not owned by the
        Debtors.

 ()     5. Debtor claimed as exempt property under Section 522(b)(2) of the Bankruptcy Code, but
        the Debtor is limited to the exemptions authorized by the Alabama Code under Section
        522(b)(2) of the Bankruptcy Code. See § 6-10-11, Code of Ala., 1975.

 (X)    6. Debtor claimed as exempt a 2001 Dodge Ram in the amount of $5,700 and Equipment in
        the amount of $55,400 under §6-10-126, Code of Ala., 1975 which is not a permitted
        exemption in bankruptcy cases.

          WHEREFORE, the Trustee respectfully requests the Court enter an order granting the
 Trustee’s Amended Objection to Debtor’s Claim of Exemptions as set forth in paragraphs one (1) and
 six (6) above.




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        RESPECTFULLY SUBMITTED this the 31st day of October, 2018.


                                                     /s/ Michele T. Hatcher _____________
                                                     Michele T. Hatcher
                                                     Chapter 12 Trustee
                                                     P.O. Box 2382
                                                     Decatur, AL 35602
                                                     (256) 350-0442



                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 31st, 2018, I have served a copy or the foregoing on the
 parties listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the United
 States Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice
 of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4 of the Court’s
 Administrative Procedures.

 James Wilson McMeans, Jr.
 205 Milton Rd
 Athens AL 35611

 Stuart M. Maples
 Maples Law Firm PC
 Attorney for Debtor
 200 Clinton Ave W Ste 1000
 Huntsville AL 35801


                                                        /s/ Michele T. Hatcher
                                                        Trustee




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